           Case 2:20-cv-03529-JMY Document 23 Filed 01/05/21 Page 1 of 4




                                    IN THE UNITED STATES DISTRICT COURT
                                 FOR THE EASTERN DISTRICT OF PENNSYLVANIA

    Michael Melvin, et al.                                 :             Civil Action
                                                           :
                  v.                                       :
                                                           :
    Hon. James F. Kenney, et                               :             No.:
    al.

                                                        ORDER

                  AND NOW, this                day of                                    20     , it is hereby

                                                  Larry Klayman
                  ORDERED that the application of ____________________________________, Esquire,

to practice in this court pursuant to Local Rule of Civil Procedure 83.5.2(b) is


                       GRANTED.1

                       DENIED.




                                                                                                    , J.




1This Court's Local Civil Rules require attorneys, including those admitted pro hac vice, to complete the registrat ion
process for the Court's ECF system. Instructions and forms are available on the Court website.
                      Case 2:20-cv-03529-JMY Document 23 Filed 01/05/21 Page 2 of 4
                                                IN THE UNITED STATES DISTRICT COURT
                                              FOR THE EASTERN DISTRICT OFPENNSYLVANIA

                                                                                                             Civil Action No#

                        APPLICATION FORM FOR THOSE ATTORNEYS SEEKING TO PRACTICE IN THIS COURT
                                  PURSUANT TO LOCAL RULE OF CIVIL PROCEDURE 83.5.2(b)

I. APPLICANT’S STATEMENT

          Larry Klayman
         I,                                                       the undersigned, am an attorney who is not currently admitted to
either the bar of this court or the bar of the Supreme Court of Pennsylvania, and I hereby apply for admission to practice in this
court pursuant to Local Rule of Civil Procedure 83.5.2(b), and am submitting a check, number CREDIT CARD , for the $40.00 admission
fee.

A.      I state that I am currently admitted to practice in the following state jurisdictions:
                     Florida                        12/7/77                           246220
                   (State where admitted)            (Admission date)                  (Attorney Identification Number)
                     Washington D.C.                12/22/80                         334581
                     (State where admitted)           (Admission date)                 (Attorney Identification Number)
                     See Attachment
                     (State where admitted)           (Admission date)                 (Attorney Identification Number)


B.      I state that I am currently admitted to practice in the following federal jurisdictions:

                     See Attachment
                   (Court where admitted)            (Admission date)                  (Attorney Identification Number)


                     (Court where admitted)           (Admission date)                 (Attorney Identification Number)


                     (Court where admitted)           (Admission date)                 (Attorney Identification Number)

C.      I state that I am at present a member of the aforesaid bars in good standing, and that I will demean myself as an attorney
        of this court uprightly and according to law, and that I will support and defend the Constitution of the United States.
                                                                                 Digitally signed by 1ea96c99-4be7-4c5c-ae9a-040e5757dc79
                                                     1ea96c99-4be7-4c5c-a        DN: CN=1ea96c99-4be7-4c5c-ae9a-040e5757dc79
                                                                                 Reason: I am the author of this document


        I am entering my appearance for             ___________________________________________
                                                                                 Location: your signing location here
                                                       e9a-040e5757dc79          Date: 2020-07-19 16:45:19
                                                                                 Foxit PhantomPDF Version: 9.6.0



        Plaintiffs                                  (Applicant’s Signature)

                                                      07/19/2020
                                                     ___________________________________________
                                                     (Date)

           Name of Applicant's Firm    Freedom Watch, Inc.
           Address                     2020 Pennsylvania Ave NW #345
           Telephone Number            561-558-5336
           Email Address               leklayman@gmail.com

       I declare under penalty of perjury that the foregoing is true and correct.
                                                                                                                                            Digitally signed by 1ea96c99-4be7-4c5c-ae9a-040e5757dc79
                                                                                  1ea96c99-4be7-4c5c                                        DN: CN=1ea96c99-4be7-4c5c-ae9a-040e5757dc79


                      07/17/2020
       Executed on __________________________                                     ______________________________________
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                            (Date)                                                        (Applicant’s Signature)

                                                                                                                                                                                                04/20
               Case 2:20-cv-03529-JMY Document 23 Filed 01/05/21 Page 3 of 4

 II. SPONSOR’S STATEMENT, MOTION AND CERTIFICATE OF SERVICE

           The undersigned member of the bar of the United States District Court for the Eastern District of Pennsylvania
 hereby moves for the admission of Larry Klayman                                                                      to practice
 in said court pursuant to Local Rule of Civil Procedure 83.5.2(b), and certify that I know (or after reasonable inquiry believe)
 that the applicant is a member in good standing of the above- referenced state and federal courts and that the applicant’s
 private and personal character is good. I certify that this application form was on this date mailed, with postage prepaid, to
 all interested counsel.
                                     1ea96c99-4be7   Digitally signed by
                                                     1ea96c99-4be7-4c5c-ae9a-040e5757dc79




                                                                                                           43545
                                                                                                10/22/1985 ___________________
                                                     DN:

 Andrew Teitelman                    -4c5c-ae9a-040  CN=1ea96c99-4be7-4c5c-ae9a-040e5757dc79
                                                     Reason: I am the author of this document


 ______________________              _________________________                                  ____________________
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 (Sponsor’s Name)                     (Sponsor’s Signature)                                     (Admission date)                      (Attorney
                                                                                                                                     Identification No.)


 SPONSOR’S OFFICE ADDRESS AND TELEPHONE NUMBER:

   380 RED LION RD STE 103 HUNTINGDON VALLEY Pennsylvania 19006
   (267) 255-6864




I declare under penalty of perjury that the foregoing is true and correct.
                                                                                                               Digitally signed by 1ea96c99-4be7-4c5c-ae9a-040e5757dc79
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                       (Date)                                                                       (Sponsor’s Signature)
           Case 2:20-cv-03529-JMY Document 23 Filed 01/05/21 Page 4 of 4




                                   IN THE UNITED STATES DISTRICT COURT
                                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

  Michael Melvin, et al.                                  :             Civil Action
                                                          :
                  v.                                      :
                                                          :
  Hon. James F. Kenney, et al.                            :             No.:


                                             CERTIFICATE OF SERVICE

                                                                                       Larry Klayman
                 I declare under penalty of perjury that a copy of the application of _________________________,

Esquire, to practice in this court pursuant to Local Rule of Civil Procedure 83.5.2(b) and the relevant proposed

Order which, if granted, would permit such practice in this court was served as follows:


Via the courts ECF electronic filing system on the date hereof to be followed by personal
service on the named defendants with plaintiffs' summons and complaint pursuant to the
applicable Rules of Court.




                                                                                               Digitally signed by 1ea96c99-4be7-4c5c-ae9a-040e5757dc79
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                                                                                               Reason: I am the author of this document


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                                                                        (Signature of Attorney)
                                                                        Andrew Teitelman, Esq.
                                                                        ____________________________________
                                                                        (Name of Attorney)
                                                                        Larry Klayman, Esq.
                                                                        ____________________________________
                                                                        (Name of Moving Party)

                                                                        07/19/2020
                                                                        ___________________________________
                                                                        (Date)
